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 5                               UNITED STATES DISTRICT COURT

 6                            WESTERN DISTRICT OF WASHINGTON

 7                                               AT SEATTLE

 8
      DONNA REED, individually and on                   Case No. 18-cv-00565-RSL
 9    behalf of all others similarly situated,
10
                             Plaintiff,                 STIPULATED MOTION AND ORDER
11                                                      STAYING CASE PENDING FILING OF
          v.                                            MOTION FOR PRELIMINARY
12                                                      APPROVAL OF CLASS ACTION
                                                        SETTLEMENT AGREEMENT
13    SCIENTIFIC GAMES CORP., a Nevada
14    corporation,

15
                              Defendant.
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     STIP. AND ORDER STAYING CASE                   1                                  E DELSON PC
28                                                                    350 N LaSalle Street, 14th Floor, Chicago, IL 60654
     CASE NO. 18-CV-565-RSL                                                Tel: 312.589.6370 • Fax: 312.589.6378
              Case 2:18-cv-00565-RSL Document 159 Filed 11/24/21 Page 2 of 4




 1                                STIPULATED MOTION FOR STAY

 2          The Parties have reached a binding agreement in principle to settle this case on a class

 3   action basis. Among other provisions, the agreement provides for:

 4                 The establishment of a $24.5 million non-reversionary settlement fund;

 5                 A release of claims by settlement class members who do not timely exclude

 6                  themselves from the settlement; and

 7                 Prospective measures.

 8          In order to provide the Parties sufficient time to reduce their agreement to a complete

 9   class action settlement agreement, and to provide Plaintiff sufficient time to prepare a motion for

10   preliminary approval, the Parties jointly seek a stay of this case through December 17, 2021, by

11   which time the Parties anticipate that Plaintiff will have filed preliminary approval papers.

12          Consequently, pursuant to Local Civil Rule 10(g), the Parties respectfully request that the

13   Court grant this stipulation and enter the attached Proposed Order.

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15          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

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17          DATED this 23rd day of November, 2021.

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19                                                 EDELSON PC

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             Case 2:18-cv-00565-RSL Document 159 Filed 11/24/21 Page 3 of 4




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 1                                           ORDER

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 3         This case is STAYED for all purposes through December 17, 2021.

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 5         IT IS SO ORDERED.

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           Dated this 24th day of November, 2021.
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 9                                                   Honorable Robert S. Lasnik
                                                     United States District Judge
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